Distric:t of Massachusetts, the above-entitled case is referred to Magistrate Judge

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V.
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for the following

ln accordance with 28 U.S.C. §636 and the Ru|es for Llnited States Magistrates in tag U;ited States District Court for the

proceedings:

(A)
(B)
(C)
(D)

(E)
(F)
(G)

(H)

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Date

Referred for full pretrial case managementl including all dispositive motions
Referred for full pretrial case management gg_t including dispositive motions:
Referred for discovery purposes only.

Referred for Report and Recommendation on:

)Motion(s) for injunctive relief
) Motion(s) for judgment on the pleadings
) Nlotion(s) for summary judgment
)Motion(s) to permit maintenance of a class action
) Motion(s) to suppress evidence
)Motion(s) to dismiss
)Post Conviction F’roceedings1
See Documents Numbered:

 

Case referred for events only. See Doc. No(s).

 

Case referred for settlement

Service as a special master for hearing, determination and report subject to the terms of the special order
filed herewith:

( )|n accordance with Rule 53, F.R.Civ.P.
( ) ln accordance with 42 U.S.C. 2000e-5(f)(5)

Spec=ial instructions _%&£MZMZEZW%?/Jm

 

 

 

(Ol‘del' of Ref to MJ.wpd - 05!2003)

 

1 See reverse side of order for instructions

